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U.S. Department of Justice

United States Attorney
District of Maryland
Southern Division

 

 

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April 26, 2019

Mare Eisenstein, Esq. FILED ENT
é en SULC —___ —__ ENTERED
Coburn & Greenbaum PLL ___ LOGGED

1710 Rhode Island Avenue NW ——— RECEIVED
Second Floor
Washington, DC 20036 MAY 29 2019
Re: United States v. George Sambuca, AT GREENBELT ,
Criminal No. DKC-17-612 COISTAIST OF MARYLAND JL
BY DEPUTY

Dear Counsel:

This letter, together with the Sealed Supplement. confirms the plea agreement (this
“Agreement”) that has been offered to your client, George Sambuca (hereinafter “Defendant”), by
the United States Attorney's Office for the District of Maryland (“this Office”). If the Defendant
accepts this offer, please have the Defendant execute it in the spaces provided below. If this offer
has not been accepted by May 10, 2019 it will be deemed withdrawn. The terms of the Agreement
are as follows:

Offenses of Conviction

 

L. The Defendant agrces to plead guilty to Counts One and Three of the indictment,
which charge the Defendant, in Count One. with Distribution of Anabolic Steroids, in violation of
21 U.S.C. § 841(a)(1) and, in Count Three. with Introduction of Misbranded Drugs Into Interstate
Commerce with Intent to Defraud and Mislead, in violation of 21 U.S.C. §§ 331 (a) and 333(a)(2).
The Defendant admits that the Defendant is, in fact, guilty of these offenses and will so advise the
Court.

Elements of the Offenses

2 The elements of the offenses to which the Defendant has agreed to plead guilty, and
which this Office would prove if the case went to trial, are as follows: That on or about the time
alleged in the Indictment, in the District of Maryland—

Count One (Distribution of Anabolic Steroids): (1) the Defendant distributed a controlled
substance; and (2) the Defendant distributed the controlled substance knowingly.

 

 
Count Three (Introduction of Mis’

when so introduced or delivered for introduction into interstate commerce;

 

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Drugs Into Interstate Commerce with Intent t

Defraud and Mislead): (1) the product at issue is a drug under 21 U.S.C. § 321(g); (2) the
Defendant caused a drug or some component of a drug to be introduced or delivered for
introduction into interstate commerce that was misbranded; (3) the drug was misbranded

Defendant acted with the intent to defraud or mislead.

Penalties

and (4) the

3. The maximum penalties provided by statute for the offense to which the Defendant

is pleading guilty are as follows:

 

 

 

 

 

 

 

 

 

 

 

 

Minimum Maximum | Supervised . . Special
Statute Imprisonment | Imprisonment Release Maximum Fine Assessment
At least 2
21 U.S.C. years and 1
§ 841 N/A 10 years no more $500,000 $100
than life
21 U.S.C.
§§ 331 (a) & N/A 3 years I year $250,000 $100
333{a}(2)
a. Prison: If the Court orders a term of imprisonment, the Bureau of Prisons

has sole discretion to designate the institution at which it will be served.

b. Supervised Release: If the Court orders a term of supervised release, and
the Defendant violates the conditions of supervised release, the Court may order the Defendant
retumed to custody to serve a term of imprisonment as permitted by statute, followed by an
additional term of supervised release.

c. Restitution: The Court may order the Defendant to pay restitution pursuant
to 18 U.S.C. §§ 3663, 3663A, and 3664.

d. Payment: Ifa fine or restitution is imposed, it shall be payable immediately,
unless the Court orders otherwise under 18 U.S.C. § 3572(d). The Defendant may be required to
pay interest if the fine is not paid when due.

é. Forfeiture: The Court may enter an order of forfeiture of assets directly
traceable to the offense, substitute assets, and/or a money judgment equal to the value of the
property subject to forfeiture.

f. Collection of Debts: If the Court imposes a fine or restitution, this Office’s
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (1) the full amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum

 

 

 
 

 

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schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the money judgment is satisfied, the Defendant authorizes
this Office to obtain a credit report in order to evaluate the Defendant’s ability to pay, and to
request and review the Defendant’s federal and state income tax returns. The Defendant agrees to
complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of federal tax
return information) and a financial statement in a form provided by this Office,

Waiver of Rights

4. The Defendant understands that by entering into this Agreement, the Defendant
surrenders certain rights as outlined below:

a. If the Defendant had pled not guilty and persisted in that plea, the Defendant
would have had the right to a speedy jury trial with the close assistance of competent counsel, That
trial could be conducted by a judge, without a jury, if the Defendant, this Office, and the Court all

agreed,

b. If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
Jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

c. If the Defendant went to trial, the Government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the Government’s witnesses. The Defendant would not have to present
any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses in
defense, however, the Defendant would have the subpoena power of the Court to compel the
witnesses to attend.

a. The Defendant would have the right to testify in the Defendant's own
defense if the Defendant so chose, and the Defendant would have the right to refuse to testify. If
the Defendant chose not to testify, the Court could instruct the jury that they could not draw any
adverse inference from the Defendant’s decision not to testify.

e, If the Defendant were found guilty after a trial, the Defendant would have
the right to appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of
evidence to see if any errors were committed which would require a new trial or dismissal of the
charges. By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and
the Court’s decisions.

 

 

 
 

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f. By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that the Defendant
may have to answer the Court’s questions both about the rights being given up and about the facts
of the case. Any statements that the Defendant makes during such a hearing would not be
admissible against the Defendant during a trial except in a criminal proceeding for perjury or false
statement.

g. If the Court accepts the Defendant’s plea of guilty, the Defendant will be
giving up the right to file and have the Court rule on pretrial motions, and there will be no further
trial or proceeding of any kind in the above-referenced criminal case, and the Court will find the
Defendant guilty.

h. By pleading guilty, the Defendant will also be giving up certain valuable
civil rights and may be subject to deportation or other loss of immigration status, including possible
denaturalization. The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect to the
Defendant’s immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United States,
Removal and other immigration consequences are the subject of a separate proceeding, however,
and the Defendant understands that no one, including the Defendant’s attomey or the Court, can
predict with certainty the effect of a conviction on immigration status. The Defendant is not relying
on any promise or belief about the immigration consequences of pleading guilty. The Defendant
nevertheless affirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences.

Advisory Sentencing Guidelines Apply

5. The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing Reform
Act of 1984 at 18 U.S.C. § 3551-3742 (excepting 18 U.S.C. § 3553(bX1) and 3742(e)) and
28 U.S.C. §§ 991 through 998. The Defendant further understands that the Court will impose a
sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.

Factual and Advisory Guidelines Stipulation

6. This Office and the Defendant stipulate and agree to the Statement of F acts set forth
in Attachment A, which is incorporated by reference herein.

Count One (Distribution of Anabolic Steroids):

a. This Office and the Defendant agree that the applicable base offense level
is a level 6, pursuant to United States Sentencing Guidelines (“U.S.S.G.”) § 2D1.1 (c){17), because
the quantity of anabolic steroids involved in the offense was less than 1,000 units.

 

 

 
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b. A 2-level increase in the offense level applies, pursuant to U.S.S.G.
§ 2D1.1(b)(7), because the Defendant, or a person for whose conduct the Defendant is accountable
under § 1B1.3 (Relevant Conduct), distributed a controlled substance through mass marketing by
means of an interactive computer service.

c, This Office’s position is that a 2-level increase in the offense level applies,
pursuant to U.S.S.G. § 2D1.1(b)(12), because the Defendant maintained a premises for the purpose
of manufacturing or distributing a controlled substance. The Defendant’s position is that this
enhancement does not apply.

Count Three (Introduction of Misbranded Drugs Into Interstate Commerce With The Intent

to Defraud or Mislead):

@. This Office and the Defendant agree that U.S.S.G. § 2B1.1 applies, pursuant
to U.S.S.G. § 2N2.1(c)(1), because the offense involved fraud. The base offense level thus is 6,
pursuant to U.S.S.G. § 2B1.1(a)(2).

fi This Office’s position is that an 8-level increase in the offense level applies,
pursuant to U.S.S.G. § 2B1.1(b)(1)(E), because the loss was more than $95,000 but not more than
$150,000. The Defendants position is that this enhancement does not apply.

, A 2-level increase in the offense level applies, pursuant to U.S.S.G.
§ 2B1.1(b)(2)(A), because the offense was committed through mass marketing.

h. This Office’s position is that a 4-level upward departure applies, pursuant
to U.S.S.G. § 2N2.1(a), application note 3(A), and U.S.S.G. § 5K2.2, because the offense created
a substantial risk of bodily injury or death. The Defendant’s position is that this enhancement does

not apply.
Grouping
a. The counts group pursuant to U.S.S.G. §§ 3D1.1 and 3D1.2(d),

b. This Office does not oppose a 2-level reduction in the Defendant’s adjusted
offense level pursuant to U.S.S.G. § 3E1.1(a) based upon the Defendant’s apparent prompt
recognition and affirmative acceptance of personal responsibility for the Defendant’s criminal
conduct. This Office will not make a motion for an additional 1-level reduction pursuant to
U.S.S.G. § 3E1.1(b) because the Defendant did not provide timely notification of the Defendant’s
intention to enter a plea of guilty. This Office may oppose any adjustment for acceptance of
responsibility under U.S.S.G. § 3E1.1(a), and may decline to make a motion pursuant to U.S.S.G.
§ 3E1.1(b), if the Defendant: (i) fails to admit each and every item in the factual stipulation; (ii)
denies involvement in the offense; (iii) gives conflicting statements about the Defendant’s
involvement in the offense; (iv) is untruthful with the Court, this Office, or the United States
Probation Office; (v) obstructs or attempts to obstruct justice prior to sentencing; (vi) engages in
any criminal conduct between the date of this Agreement and the date of sentencing; (vii) attempts
to withdraw the plea of guilty; or (viii) violates this Agreement in any way.

 

 
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7. There is no agreement as to the Defendant's criminal history and the Defendant
understands that the Defendant’s criminal history could alter the Defendant’s offense: level.
Specifically, the Defendant understands that the Defendant’s criminal history could alter the final
offense level if the Defendant is determined to be a career offender or if the instant offense was a
part of a pattern of criminal conduct from which the Defendant derived a substantial portion of the

Defendant's income.

8, Other than as set forth above, no other offense characteristics, sentencing guidelines
factors, potential departures or adjustments set forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.

Obligations of the Parties

9. At the time of sentencing, this Office and the Defendant reserve the right to
advocate for a reasonable sentence, period of supervised release, and/or fine considering any
appropriate factors under 18 U.S.C. § 3553(a). This Office and the Defendant reserve the right to
bring to the Court’s attention all information with respect to the Defendant's background,
character, and conduct that this Office or the Defendant deem relevant to sentencing, including the
conduct that is the subject of any counts of the Indictment. At the time of sentencing, this Office
will move to dismiss any open counts against the Defendant.

Waiver of Appeal

10. In exchange for the concessions made by this Office and the Defendant in this
Agreement, this Office and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or
any other statute or constitutional provision, to appeal the Defendant’s conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant’s conviction on the ground
that the statute(s) to which the Defendant is pleading guilty is unconstitutional, or on the ground
that the admitted conduct does not fall within the scope of the Statute(s), to the extent that such
challenges legally can be waived.

b, The Defendant and this Office knowingly and expressly waive all rights
conferred by 18 U.S.C. § 3742 to appeal whatever sentence is imposed (including any term of
imprisonment, fine, term of supervised release, or order of restitution) for any reason (including
the establishment of the advisory sentencing guidelines range, the determination of the
Defendant’s criminal history, the weighing of the sentencing factors, and any constitutional
challenges to the calculation and imposition of any term of imprisonment, fine, order of forfeiture,
order of restitution, and term or condition of supervised release), except as follows:

i, The Defendant reserves the right to appeal any term of
imprisonment to the extent that it exceeds any sentence within the advisory guidelines range
resulting from an offense level of 18; and

 

 
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ii. This Office reserves the right to appeal any term of imprisonment to
the extent that it is below any sentence within the advisory guidelines range resulting from an
offense level of 6.

c. The Defendant waives any and all rights under the Freedom of Information
Act relating to the investigation and prosecution of the above-captioned matter and agrees not to
file any request for documents from this Office or any investigating agency.

Forfeiture

li. | The Defendant understands that the Court may enter an Order of Forfeiture as part
of the Defendant’s sentence, and that the Order of Forfeiture may include assets directly traceable
to the offense(s), substitute assets, and/or a money judgment equal to the value of the property
derived from, or otherwise involved in, the offenses.

12, The Defendant agrees to consent to the entry of orders of forfeiture for the property
described herein and waives the requirements of Federal Rules of Criminal Procedure 32.2 and
43(a) regarding notice of the forfeiture in the charging instrument, announcement of the forfeiture
at sentencing, and incorporation of the forfeiture in the judgment. This Office agrees to seek the
Attorney General’s approval to apply forfeited assets to the Defendant’s Restitution Order.

13. The Defendant agrees to assist fully in the forfeiture of the above property. The
Defendant agrees to disclose all assets and sources of income, to consent to all requests for access
to information related to assets and income, and to take all steps necessary to pass clear title to the
forfeited assets to the United States, including executing all documents necessary to transfer such
title, assisting in bringing any assets located outside of the United States within the jurisdiction of
the United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are made available for forfeiture.

14. | The Defendant waives all challenges to any forfeiture carried out in accordance
with this Agreement on any grounds, including any and all constitutional, legal, equitable,
Statutory, or administrative grounds brought by any means, including through direct appeal, habeas
corpus petition, or civil complaint. The Defendant will not challenge or seek review of any civil
or administrative forfeiture of any property subject to forfeiture under this Agreement, and will
not assist any third party with any challenge or review or any petition for remission of forfeiture.

Defendant's Conduct Prior to Sentencing and Breach

15. Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction of justice under U.S.S.G. § 3C1.1; will not violate any federal,
state, or local law; will acknowledge guilt to the probation officer and the Court; will be truthful
in any statement to the Court, this Office, law enforcement agents, and probation officers; will
cooperate in the preparation of the presentence report; and will not move to withdraw from the
plea of guilty or from this Agreement.

 

 
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16. If the Defendant engages in conduct prior to sentencing that violates the above
paragraph of this Agreement, and the Court finds a violation by a preponderance of the evidence,
then: (i) this Office will be free from its obligations under this Agreement; (ii) this Office may
make sentencing arguments and recommendations different from those set out in this Agreement,
even if the Agreement was reached pursuant to Rule | 1(¢)(1)(C); and (iii) in any criminal or civil
proceeding, this Office will be free to use against the Defendant all statements made by the
Defendant and any of the information or materials provided by the Defendant, including
statements, information, and materials provided pursuant to this Agreement, and statements made
during proceedings before the Court pursuant to Rule 11 of the Federal Rules of Criminal
Procedure. A determination that this Office is released from its obligations under this Agreement
will not permit the Defendant to withdraw the guilty plea. The Defendant acknowledges that the
Defendant may not withdraw the Defendant's guilty plea—even if made pursuant to Rule
11(c)(1)(C)-—if the Court finds that the Defendant breached the Agreement. In that event, neither
the Court nor the Government will be bound by the specific sentence or sentencing range agreed
and stipulated to herein pursuant to Rule 11(c\1)(C).

Court Nota Party

17, The Court is not a party to this Agreement. The sentence to be imposed is within
the sole discretion of the Court. The Court is not bound by the Sentencing Guidelines stipulation
in this Agreement. The Court will determine the facts relevant to sentencing. The Court is not
required to accept any recommendation or stipulation of the parties. The Court has the power to
impose a sentence up to the maximum penalty allowed by law. If the Court makes sentencing
findings different from those stipulated in this Agreement, or if the Court imposes any sentence up
to the maximum allowed by statute, the Defendant will remain bound to fulfill all of the obligations
under this Agreement. Neither the prosecutor, defense counsel, nor the Court can make a binding
prediction, promise, or representation as to what guidelines range or sentence the Defendant will
receive, The Defendant agrees that no one has made such a binding prediction or promise.

Entire Agreement

18. This letter, together with the Sealed Supplement, constitutes the complete plea
agreement in this case. This letter, together with the Sealed Supplement, Supersedes any prior
understandings, promises, or conditions between this Office and the Defendant. There are no other
agreements, promises, undertakings, or understandings between the Defendant and this Office
other than those set forth in this letter and the Sealed Supplement. No changes to this Agreement
will be effective unless in writing, signed by all parties and approved by the Court.

 

 
 

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If the Defendant fully accepts each and every term and condition of this Agreement, please
sign and have the Defendant sign the original and return it to me promptly.

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